Case 23-56798-pmb        Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21            Desc Main
                                   Document     Page 1 of 13



                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


  IN RE:                                                  CHAPTER 15

 BRON MEDIA HOLDINGS USA CORP., et al., CASE NO. 23-56798-PMB

         DEBTORS IN A FOREIGN                             JOINTLY ADMINISTERED
         PROCEEDING.


                   NOTICE OF FILING OF ORDER OF ATTACHMENT
                      FOR CREDITOR HUDSON PRIVATE CORP.

        PLEASE TAKE NOTICE that WV PARTNERS LLC A/K/A WEST VENTURES

 LLC (“West Ventures”), a party in interest in the above-referenced jointly administered chapter

 15 proceeding (this “Chapter 15 Proceeding”), hereby files a true and correct copy of the Order of

 Attachment (the “Order”) attached hereto as Exhibit “A”.

        PLEASE TAKE FURTHER NOTICE that the Order was entered in the action styled

 WV Partners LLC v. Hudson Private Corp., Index No. 654392/2023, in the Commercial Division

 of the Supreme Court of the State of New York, County of New York, on February 28, 2024.

        PLEASE TAKE FURTHER NOTICE that:

        1.      The Order was granted pursuant to section 6201(3) of the New York Civil Practice

                Law and Rules (“NY CPLR”) against HUDSON PRIVATE CORP, a creditor and

                party in interest in this Chapter 15 Proceeding.

        2.      The amount secured by the Order, including any interest, shall be for the sum of

                $14,144,154.10 as of August 31, 2023, plus unpaid interest thereon (the “Funds”),

                costs, and sheriff’s fees and expenses.
Case 23-56798-pmb        Doc 126     Filed 03/18/24 Entered 03/18/24 16:45:21            Desc Main
                                    Document     Page 2 of 13



        3.      The Order provides that all persons served with this Order shall be and hereby are

                forbidden to make or suffer any sale, assignment or transfer of, or any interference

                with the Funds, or pay over or otherwise dispose of any such debt, to any person

                other than the sheriff, except upon direction of the sheriff or pursuant to a court

                order.

        4.      The Order provides that all garnishees upon whom a copy of this Order is served

                are directed to serve the statement required by section 6219 of the NY CPLR, by

                hand or overnight delivery upon the sheriff and counsel for West Ventures, Robert

                Kirshenberg, Esq., One Vanderbilt Avenue, New York, NY 10017, within five (5)

                days after levy.

        PLEASE TAKE FURTHER NOTICE that, pursuant to the Order, YOU ARE

 FORBIDDEN to make or suffer any sale, assignment or transfer of, or any interference with the

 Funds, or pay over or otherwise dispose of any such debt, to any person other than the sheriff,

 except upon direction of the sheriff or pursuant to a court order.

 Dated: March 18, 2024                         Respectfully submitted,

                                               GREENBERG TRAURIG, LLP

                                                /s/ Alison Elko Franklin
                                               Alison Elko Franklin
                                               Georgia Bar No. 243353
                                               3333 Piedmont Road, NE, Suite 2500
                                               Atlanta, Georgia 30305
                                               Telephone: (678) 553-2100
                                               Facsimile: (678) 553-2212
                                               Email:       Alison.Franklin@gtlaw.com

                                               Counsel for WV Partners LLC
                                               a/k/a West Ventures LLC




                                                  2
Case 23-56798-pmb   Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21   Desc Main
                              Document     Page 3 of 13




                                EXHIBIT “A”
                                                                                    INDEX NO. 654392/2023
NYSCEF DOC. Case 23-56798-pmb
            NO. 81              Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21  Desc
                                                                               RECEIVED   Main 02/28/2024
                                                                                        NYSCEF:
                                          Document     Page 4 of 13




                                                  1 of 5
                                                                                     INDEX NO. 654392/2023
            Case8123-56798-pmb
NYSCEF DOC. NO.                  Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21  DescNYSCEF:
                                                                                 RECEIVED  Main 02/28/2024
                                           Document     Page 5 of 13




                                                   2 of 5
                                                                                 INDEX NO. 654392/2023
         Case
NYSCEF DOC. NO.23-56798-pmb
                81            Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21
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                                                                                    NYSCEF:
                                        Document     Page 6 of 13




                                                 3 of 5
                                                                                 INDEX NO. 654392/2023
         Case
NYSCEF DOC. NO.23-56798-pmb
                81            Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21
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                                                                                     NYSCEF:
                                        Document     Page 7 of 13




                                                 4 of 5
                                                                                   INDEX NO. 654392/2023
NYSCEF DOC.Case
            NO. 23-56798-pmb
                81             Doc 126    Filed 03/18/24 Entered 03/18/24 16:45:21
                                                                             RECEIVEDDesc Main 02/28/2024
                                                                                      NYSCEF:
                                         Document     Page 8 of 13




                                                  5 of 5
Case 23-56798-pmb        Doc 126     Filed 03/18/24 Entered 03/18/24 16:45:21              Desc Main
                                    Document     Page 9 of 13



                                  CERTIFICATE OF SERVICE

        This is to certify that I have on this day electronically filed the foregoing Notice of Filing
 of Order of Attachment for Creditor Hudson Private Corp. using the Court’s CM/ECF System,
 which serves the same upon all participants therein who have appeared in this case:

       Bryan E. Bates bbates@phrd.com

       Kennedy Bodnarek kbodnarek@phrd.com

        Brian P. Hall bhall@sgrlaw.com; sgr.notifications@gmail.com

       Michael F. Holbein mholbein@sgrlaw.com

       Walter E. Jones wjones@balch.com; fednoticesatl@balch.com

       David B. Kurzweil kurzweild@gtlaw.com; brattons@gtlaw.com

       Louis G. McBryan lmcbryan@mcbryanlaw.com; alepage@mcbryanlaw.com

       Cameron M. McCord cmccord@joneswalden.com; jwdistribution@joneswalden.com;
        ljones@joneswalden.com; cparker@joneswalden.com; lpineyro@joneswalden.com

       Office of the United States Trustee ustpregion21.at.ecf@usdoj.gov

       Matthew Petrie petriem@gtlaw.com

       Patrick Silloway psilloway@balch.com; ddaley@balch.com

       J. Nevin Smith tpauley@smithconerly.com; jsmith@smithconerly.com;
        R40523@notify.bestcase.com


        I further certify that on the date indicated below, I caused true and correct copies of the
 foregoing Notice of Filing of Order of Attachment for Creditor Hudson Private Corp. to be served
 upon the parties listed below via e-mail:

       Aaron Gilbert agilbert@bronstudios.com

       Asim Iqbal aiqbal@millerthomson.com

       Bryan Hicks bjhicks@millerthomson.com

       Monica Faheim mfaheim@millerthomson.com
Case 23-56798-pmb     Doc 126 Filed 03/18/24 Entered 03/18/24 16:45:21   Desc Main
                             Document    Page 10 of 13



      Mark Wentzell Mark.Wentzell@ca.gt.com

      James Saxton james.saxton@ca.gt.com

      Eric Jamieson Eric.Jamieson@ca.gt.com

      John Birch jbirch@cassels.com

      Peter Dunne dunnep@bennettjones.com

      Mike Shakra shakram@bennettjones.com

      Joshua Foster fosterj@bennettjones.com

      Peter Rubin peter.rubin@blakes.com

      Adam J. Korn ajkorn@comerica.com

      Jeff Colvin jdcolvin@comerica.com

      Alejandro Garcia Perez agarcia@animaestudios.com

      Jason Cloth jason.cloth@cwmoviefund.ca

      Suraj MaraBoyna suraj@maraboyinacapital.com

      Christoher Cheng winecpc@gmail.com

      Christine Haebler christinehaebler@gmail.com

      Richard McConnell Richard.McConnell@cwmoviefund.ca

      Debbie H. Patrick bpatrick@sde.bz

      Gary N. Solomon Sr. jburas@cbtno.com

      Guido Campello Trust guido@campello.com

      John Raymonds john@raymonds.com

      John Duca Johnd@daytonaauto.ca

      Prentiss C Patrick and Buddy Patrick Buddypatrick4@gmail.com

      Irina Race irina.race@rbc.com


                                             2
Case 23-56798-pmb          Doc 126 Filed 03/18/24 Entered 03/18/24 16:45:21                Desc Main
                                  Document    Page 11 of 13



        Lorna Badeo lbadeo@dga.org

        David Gendron dgendron@tpc.us

        Nicholas Woodall Nicholas.Woodall@ubcpactra.ca

        Grace Pontius gpontius@dga.org

        Moira Holmes Mholmes@filmfinances.ca

        Sandy Schmidt sandy@schmidtfinancial.com

        Kevin Fritz kaf@msf-law.com

        Peter Rubin peter.rubin@blakes.com

        John Salmas john.salmas@dentons.com

        David F. Staber dstaber@akingump.com


        I further certify that on the date indicated below, I caused true and correct copies of the
 foregoing Notice of Filing of Order of Attachment for Creditor Hudson Private Corp. to be served
 upon the parties listed below via U.S. First Class Mail and First Class International Mail with
 adequate postage prepaid:

  Sara L. Chenetz                Jonathan Shenson               BRON GROUP OF
  Perkins Coie LLP               Greenberg Glusker LLP          COMPANIES
  1888 Century Park East         2049 Century Park East         5542 Short Street
  Suite 1700                     Suite 2600                     Burnaby, BC V5J 1L9
  Los Angeles, CA 90067          Los Angeles, CA 90067          Canada

  BRON Media Holdings USA        BRON Creative USA, Corp.       BRON Digital USA, LLC
  Corp.                          1700-Park Place, 666 Burrard   1700-Park Place, 666 Burrard
  1700-Park Place, 666 Burrard   Street                         Street
  Street                         Vancouver, British Columbia    Vancouver, BC V6C 2X8
  Vancouver, BC V6C 2X8          Canada                         Canada
  Canada

  BRON Life USA Inc.             BRON Releasing USA Inc.        BRON Studios USA Inc.
  1700-Park Place, 666 Burrard   1700-Park Place, 666 Burrard   1700-Park Place, 666 Burrard
  Street                         Street                         Street
  Vancouver, BC V6C 2X8          Vancouver, BC V6C 2X8          Vancouver, BC V6C 2X8
  Canada                         Canada                         Canada




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Case 23-56798-pmb          Doc 126 Filed 03/18/24 Entered 03/18/24 16:45:21                       Desc Main
                                  Document    Page 12 of 13


 BRON Studios USA                   BRON Ventures 1, LLC              Bakhorma, LLC
 Developments Inc.                  1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 1700-Park Place, 666 Burrard       Street                            Street
 Street                             Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Vancouver, BC V6C 2X8              Canada                            Canada
 Canada

 Drunk Parents, LLC                 Fables Holdings USA, LLC          Fables Productions USA Inc
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 Gossamer Holdings USA, LLC         Gossamer Productions USA Inc.     Harry Haft Productions, Inc.
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 Heavyweight Holdings, LLC          I Am Pink Productions, LLC        Lucite Desk, LLC
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 National Anthem Holdings, LLC      National Anthem ProdCo Inc.       Oakland Pictures Holdings, LLC
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 Pathway Productions, LLC           Robin Hood Digital PC USA Inc.    Robin Hood Digital USA, LLC
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 Solitary Holdings USA, LLC         Surrounded Holdings USA LLC       Welcome To Me, LLC
 1700-Park Place, 666 Burrard       1700-Park Place, 666 Burrard      1700-Park Place, 666 Burrard
 Street                             Street                            Street
 Vancouver, BC V6C 2X8              Vancouver, BC V6C 2X8             Vancouver, BC V6C 2X8
 Canada                             Canada                            Canada

 Creative Wealth Media Lending      Bennett Jones LLP                 Bennett Jones LLP
 LP 2016                            3400 One First Canadian Place     666 Burrard Street, Suite 2500
 c/o Creative Wealth Media          P.O. Box 130                      Vancouver, BC V6C 2X8
 GenPar Ltd.                        Toronto, ON M5X 1A4               Canada
 151 Bloor Street West, Suite 700   Canada
 Toronto, ON M5S 1S4                Attn: Peter Dunne, Mike Shakra,
 Canada                             and Joshua Foster
 Attn: Richard McConnell




                                                      4
Case 23-56798-pmb          Doc 126 Filed 03/18/24 Entered 03/18/24 16:45:21                       Desc Main
                                  Document    Page 13 of 13


  BRON Media Corp.                   Miller Thomson LLP                Grant Thornton Limited
  Suite 1700, Park Place             40 King Street West, Suite 5800   Suite 1600 - 333 Seymour Street
  666 Burrard Street                 Toronto, ON M5H 4A9               Vancouver BC V6B 0A4
  Vancouver, BC V6C 2X8              Canada                            Canada
  Canada                             Attn: Asim Iqbal                  Attn. Mark Wentzell
  Attn: Aaron Gilbert

  Cassels Brock & Blackwell LLP      Miller Thomson LLP                Cassels Brock & Blackwell LLP
  40 Temperance Street, Suite 3200   700 West Georgia St, Suite 2200   Suite 2200, HSBC Building
  Toronto, ON M5H 0B4                Vancouver, BC V7Y 1K8             885 West Georgia Street
  Canada                             Canada                            Vancouver, BC V6C 3E8
  Attn: John Birch                   Attn: Asim Iqbal                  Canada
                                                                       Attn: John Birch




 Dated: March 18, 2024                                      /s/ Alison Elko Franklin
                                                            Alison Elko Franklin




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